                    Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 1 of 11
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                            District of New Mexico                E]
              In the Matter of the Search of
                                                                             )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)
                                                                             )               Case No. MR 22-1002
              The person of Kendale Johnson                                  )
                                                                             )
                                                                             )

    APPLICATION FOR AWARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See attachment A
located in the                                                    New Mexico
                                                  District of -------------  , there is now concealed (identify the
person or describe the property to be seized):

 See attachment B

          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
               � evidence of a crime;
               0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. §§ 1153 and 2111                Robbery


          The application is based on these facts:
        See attached affidavit

           � Continued on the attached sheet.
           0 Delayed notice of __ days (give exact ending date ifmore than 30 days: ___                            _
                                                                                                                   _ ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                            LL?     _ _�-�
                                                                                                    �
                                                                                              Applicant's gnah,re

                                                                                                 Andrew Fulp, Special Agent
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
         telephone and submitted via e-mail            (specify reliable electronic means).


Date:        June 28, 2022
                                                                                                       Judge's signature

City and state:       Albuquerque, New Mexico                                    B. Paul Briones, United States Magistrate Judge
                                                                                                     Printed name and title
             Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 2 of 11




                     ELECTRONICALL        Y SUBMITTED         AFFIDAVIT

        Your affiant, Andrew     Fulp, a Special Agent (SA) with the Federal Bureau of

Investigation (FBI), states under oath as follows:

                                Introduction and Agent Background

        1.      Your affiant is a Special Agent (SA) of the Federal Bureau of Investigation

(FBI), and is currently assigned to the Gallup, New Mexico, Resident Agency of the Phoenix,

Arizona, FBI Field Division. In the course of my official duties, 1 am charged with the

investigation    of crimes occurring on (among other places) the Navajo Indian Reservation

within the District of Arizona. My training and experience include investigating violations

of Federal Law, including violations of Title 18 of the United States Code.

        2.      The statements contained in this Affidavit are based in part on information

provided to your affiant, by other Special Agents and law enforcement            officers, either

directly or indirectly through their reports or affidavits,    and information     provided by

witnesses. Your affiant also relies on his experience, training, and background as a Special

Agent with the FBI in evaluating this information, and on your affiant's own work on this

case.

        3.      As further described in Attachments A and B, 1 am requesting that the Court

issue a search warrant to search for evidence in the form of deoxyribonucleic      acid (DNA),

located in and on the body of Kendale Johnson (Johnson), date of birth XX-XX-89, social

security number XXX-XX-2890.        This request is made in support of an investigation for the

violation of Title 18, United States Code, Sections 1153 and 2111 (robbery), among other
            Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 3 of 11


violations. I submit this affidavit in support of an application for a search warrant, pursuant

to Rule 41, Federal Rules of Criminal Procedure. Because this affidavit is being submitted

for purposes of establishing probable cause for a search warrant, it does not contain every

fact known to law enforcement concerning this investigation.

       4.      Johnson is an Indian male and enrolled member of the Navajo Nation Indian

Tribe, and the crimes alleged in this Affidavit occurred within the confines of the Navajo

Nation Indian Reservation in the District of Arizona.

                            Carjacking/Robbery        on July 5, 2021

       5.      On July 6, 2021, your affiant was contacted           by Navajo     Nation   Police

Department      (NNPD)   Criminal    Investigator   (CI) Jerrick   Curley   regarding   a robbery

investigation. CI Curley had been contacted by NNPD Officers after they responded to a call

in Teec Nos Pos, Arizona, which is located on the Navajo Nation.

       6.      Responding officers told CI Curley they had received a call during the evening

hours of July 5, 2021. Three unidentified subjects had attempted to kidnap a woman, C.C.,

from her residence. After the suspects were unsuccessful, they assaulted C.C. and stole her

vehicle, a 2007 Chevrolet Silverado truck. The unidentified subjects then left the area prior

to responding officers arriving on scene.

       7.      EMT personnel arrived on scene and transported C.c. to a local hospital for

treatment.

                                    Recovery of the vehicle

       8.      On July 10,2021,     C.C.'s stolen vehicle was recovered abandoned near mile

post 87 off of US Highway 491 in Shiprock, New Mexico, and towed to the FBI Fannington
                                                -2-
              Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 4 of 11


Office where it was secured. On July 14, 2021, CI Curley and your affiant processed the

vehicle, and recovered several items of evidence, including a cigarette butt in the driver's

door pocket.

         9.      The cigarette butt was sent to the FBI laboratory in Quantico, Virginia and

analyzed. Upon processing,       the laboratory was able to locate a DNA profile from the

cigarette butt. A routine search of the Combined DNA Index System (CODIS) database

indicated a possible DNA association between the cigarette butt and the DNA profile for

Johnson. The lab requires a known DNA sample from Johnson to confirm this association.

                                        Interview of C.C.


         10.     On July 14, 2021, CI Curley and your affiant interviewed the victim. C.C. said

the incident started around 10:00PM when she heard the chime of her gate sensor, indicating

someone was entering her property. Shortly after, a young female exited a vehicle and asked

if "MJ" was home.

         11.     MJ is the daughter of C.c. MJ had a prior relationship with Johnson. Six years

ago, MJ and Johnson dated for a duration of about three months. After their relationship

ended, Johnson went to prison for five years. MJ had not seen Johnson since his release from

pnson.

         12.     When the female suspect asked about MJ being at home, c.c. was standing in

her doorway, and replied that MJ was not at home. The vehicle then drove off. Several

minutes later, C.C. heard the gate sensor chime again, and the same vehicle returning. The

same female said she had a note to give to MJ, and C.C. began walking towards the female.


                                                -3-
         Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 5 of 11


      13.    Once C.C. was near the female, a male began rushing towards C.C. and grabbed

her wrist. The male then told C.C. to get into the vehicle, and C.c. saw that he had a gun.

c.c. began screaming, and then saw another male suspect. C.C. was then slammed to the

ground, where she hit her head and blacked out briefly. Both males then helped her up, and

she told them to take it easy on her.

       14.   The suspects then told C.c. to get into the vehicle, but she refused and began

screaming again. She was then struck in the head with the gun and she felt blood coming

down her face. The female suspect told the male suspects to take C.C. 's smart watch because

she might use it to make a call. A male suspect then took the watch from C.C. and handed it

to the female suspect.

       15.   One of the male suspects took a rag and stuffed it into C. C.' s mouth and told

her not to scream again or they would shoot her leg. One of the male suspects then went

inside her residence. At some point, her wrists were tied together, and some type of strap

was wrapped around her mouth. C.c. kept trying to escape but was unable to. Eventually she

heard a gunshot.

       16.   One of the male suspects asked C.C. where the truck keys were, and she told

them the keys were inside the house. The male suspect could not find the truck keys, so he

kicked C.C. in the ribs. Then C.c. said the keys were in the truck, at which point the male

suspect kicked her in the ribs again and went to her truck. C.c. heard her truck turn on, and

then saw the suspects driving away. c.c. could see the driver was one of the male suspects,

and he yelled to C.c. "tell MJ we're back".


                                              - 4 -
            Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 6 of 11


          17.   C.C. was able to break free of her restraints and run inside her residence to get

help. Eventually the police and an ambulance arrived.

          18.   C.C. did not smoke and did not leave any trash inside her vehicle the day it was

stolen.

                             Carjacking/Robbery       on May 16,2021

          19.   On May 16,2021,     J.W. was traveling in his vehicle near Red Mesa, AZ. At

some point, he became tired of driving so he pulled off on the side of the road to rest. At

about 7:30AM, he was awoken by two (2) males outside of his vehicle. One of the males

had two (2) handguns and the other had one (1). l.W. described both males as Native

Americans, one of which was between 25 and 35 years old, and another that was between

18 and 22 years old. J.W. recalled a black truck parked in front of his vehicle during the

incident. There was a third person in the vehicle, but l.W. could not tell ifit was a male or a

female.

          20.   l.W. was ordered from his vehicle and soon ordered onto his knees about ten

(l0) yards from his car. One of the males began asking for l.W.'s property including his

wallet, keys, and cell phone, all of which J.W. provided. The male also asked him for his

PIN to his bank cards, which l.W. provided. The males began to rummage through J.W.'s

vehicle and found a can of bear pepper spray. One of the males asked l.W. ifhe wanted to

get shot. At that time, l.W. thought that he was going to be shot. Instead, one of the males

used the recently discovered bear pepper spray and sprayed J.W. in his face. l.W. was

gasping for air and struggling to breathe.


                                                -5-
           Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 7 of 11


       21.      One or both of the males got into J.W.'s vehicle and threw him some boots,

clothes,     and a water bottle      and left with his vehicle.      l.W.'s    vehicle     was a silver

Subaru Forester with a California license plate. Additional        property inside J.W.'s vehicle

included an estimated $5,000.00 worth of camera equipment, two (2) laptop computers, and

ski equipment mounted on the top of the vehicle. l.W. was able to make his way to a nearby

store known as the Red Mesa store where he requested help. First responders arrived and

l.W. was transported to a nearly medical facility for treatment.

                                         Recovery of the Vehicle

       22.      Days later, l.W.'s    Subaru Forester was discovered          abandoned.    A thorough

search was conducted and the vehicle was processed. Items from inside and outside the

vehicle were collected. Swabs from the vehicle were also taken. Laboratory analysis of the

swabs and some of the items collected determined that there is DNA evidence (including

male DNA) that is suitable for comparison.

                                         Identification of Johnson

       23.      As the investigation     continued,    l.W. was able to provide             investigators

information     from his financial institutions, one of which was Wells Fargo. Wells Fargo

advised l.W. that someone had attempted to access his account via ATM the same day, May

16, in Shiprock, NM. Wells Fargo provided l.W. the times of three (3) cash withdrawal

attempts     at the ATM machine,        all of which were unsuccessful.           l.W. provided       this

information to investigators.

       24.      SA Carter successfully obtained video footage from the Wells Fargo location

in Shiprock, NM. Footage obtained from the ATM was of high quality. SA Carter referenced
                                                 -6-
         Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 8 of 11


the known time frame in which the three (3) unsuccessful      cash withdrawal attempts were

made. SA Carter observed a Subaru vehicle pull into the parking lot of the bank and park

near the ATM machine. The vehicle matched the overall description of that provided by J. W.

Two males were occupying the front seats of the vehicle upon arrival to the bank. One of the

males approached the ATM machine and began making attempts to use it. While using the

machine, the camera on the ATM captured clear and detailed footage of the face of the male.

      25.    SA Carter sent this footage to Navajo Department of Criminal Investigations,

Shiprock Division. Shiprock Criminal Investigators     viewed the footage and immediately

recognized the male at the ATM as Kendale Johnson. SA Carter then viewed an Arizona

MVD photo from 2019 and concurred with the Shiprock Criminal Investigators that the male

did appear to be Kendale Johnson.


                   Things to Be Searched and Seized from the Suspect

      26.    Your affiant respectfully requests that a search warrant be issued authorizing

the search and seizure of a DNA sample to be obtained from Johnson in order to conduct a

comparison with the DNA found during the examination         of the cigarette butt from C.C. 's

vehicle, as well as any DNA profiles present in the evidence and swabs from J.W.'s vehicle.

The process of collection will be limited to the seizure of a DNA sample by the use of two

(2) buccal swabs. The method of collection will be oral, that is, by inserting the buccal swabs

into the mouth of Johnson for the purpose of collecting saliva and cheek cells.




                                              -7-
         Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 9 of 11


                                         Conclusion

      27.    Based on the foregoing, I respectfully    submit that there is probable cause to

believe that the evidence described above will assist investigators in confirming the identity

of the perpetrator and further the investigation of, among other violations of federal law

arising from this incident, violations of 18 U.S.C. §§ 1153 and 2111. Accordingly,        your

affiant requests a search warrant for a DNA sample from Johnson's person.

      28.    Assistant United States Attorney Kyle Nayback has reviewed and approved this

affidavit in support of an application for a search warrant.

       Pursuant to 28 U.S.C. § 1746(2), I declare that the foregoing is true and correct
to the best of my knowledge and belief.


                                                    Respectfully Submitted,




                                               Andrew Fulp     7"
                                               Special Agent
                                               Federal Bureau of Investigation


Telephonically SUBSCRIBED and SWORN to before
        28th day of __
me this __           June , 2022.




B. Paul Briones
United States Magistrate Judge




                                              -8-
      Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 10 of 11




                              ATTACHMENT         A


                        PERSON TO BE SEARCHED

      Kendale Johnson, an Indian male, date of birth XX-XX-89,      social security

number XXX-XX-2890,     approximately 5 foot 8 inches tall, and approximately   190

pounds. Photo below is a photo of Johnson dated October 8, 2019.
       Case 1:22-mr-01002-BPB Document 1 Filed 06/28/22 Page 11 of 11




                                  ATTACHMENT         B


                              ITEMS TO BE SEIZED


      Evidence in the form of deoxyribonucleic       acid (DNA) to be obtained from

Kendale   Johnson through    cotton/buccal   swabs in the mouth.       The process of

collection will be limited to the seizure of DNA by using two (2) buccal swabs. The

method of collection will be oral, that is, by inserting the buccal swabs into the mouth

of Johnson for the purpose of collecting saliva and cheek cells.
